      Case 2:17-cv-01697-SVW-SK Document 558 Filed 05/23/23 Page 1 of 1 Page ID #:14779

                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
                                                          CIVIL MINUTES - TRIAL

 Case No.        2:17-cv-01697-SVW-SK                                                                         Date      May 23, 2023
 Title:          Roy Payan, et al v. Los Angeles Community College District, et al

 Present: The Honorable             STEPHEN V. WILSON, U.S. DISTRICT COURT
                            Paul M. Cruz                                                                      Laura Elias
                            Deputy Clerk                                                                 Court Reporter/Recorder


                Attorneys Present for Plaintiff(s):                                                Attorneys Present for Defendants:
Jessica Weber, Kevin Docherty, Patricia Barbosa,                                David Urban, Bruce Cleeland
Monica Basche
                              Day Court Trial                      1st                      Day Jury Trial
                                                st
            One day trial:      X    Begun (1 day);        X     Held & Continued;                  Completed by jury verdict/submitted to court.
 ✔     The Jury is impaneled and sworn.
 ✔     Opening statements made by                    Plaintiff and Defendants
 ✔     Witnesses called, sworn and testified.         ✔   Exhibits Identified         ✔     Exhibits admitted.

       Plaintiff(s) rest.                                 Defendant(s) rest.
       Closing arguments made by                          plaintiff(s)                    defendant(s).                Court instructs jury.
       Bailiff(s) sworn.                                  Jury retires to deliberate.                                  Jury resumes deliberations.
       Jury Verdict in favor of                           plaintiff(s)                    defendant(s) is read and filed.
       Jury polled.                                       Polling waived.
       Filed Witness & Exhibit Lists                      Filed jury notes.               Filed jury instructions.
       Judgment by Court for                                                              plaintiff(s)                 defendant(s).
       Findings, Conclusions of Law & Judgment to be prepared by                          plaintiff(s)                 defendant(s).
       Case submitted.                Briefs to be filed by
       Motion to dismiss by                                                      is             granted.             denied.           submitted.
       Motion for mistrial by                                                    is             granted.             denied.           submitted.
       Motion for Judgment/Directed Verdict by                                   is             granted.             denied.           submitted.
       Settlement reached and placed on the record.
       Clerk reviewed admitted exhibits with counsel to be submitted to the Jury/Court for deliberation/findings.
       Counsel stipulate to the return of exhibits upon the conclusion of trial. Exhibit Release Form prepared and filed.
       Trial subpoenaed documents returned to subpoenaing party.
 ✔ Case continued to                       Wednesday, May 24, 2023                            for further trial/further jury deliberation.
       Other:


                                                                                                                          7       :          10
                                                                                Initials of Deputy Clerk                       PMC
cc:


CV-96 (10/08)                                                  CIVIL MINUTES - TRIAL                                                              Page 1 of 1
